                                                       February 2, 2018

BY ECF:

Honorable Valerie E. Caproni
United States District Court
Southern District of New York
40 Foley Square
New York, NY 10007

       Re: United States v. Percoco, et al., S2 16 Cr. 776 (VEC)

Dear Judge Caproni:

         We write on behalf of Peter Galbraith Kelly, Jr., and respectfully submit this letter to
strike testimony elicited by the Government yesterday during Steve Remillard’s re-direct
examination, as improper under Federal Rules of Evidence 401, 403, and 404(b).

        During the re-direct, the Government asked Mr. Remillard questions about defense
exhibit BKX 54A, a spreadsheet which lists various expenses of the CPV Valley project.1
Specifically, the Government directed Mr. Remillard’s attention to a line item on the spreadsheet
reflecting that CPV paid a particular law firm. The Government elicited testimony that an
attorney at the law firm was retained by CPV as outside counsel and that the attorney’s father
was a New York State senator. (Tr. 1853:1–1854:4).

        The Government’s questions on this topic were improper. The fact that one of CPV’s
outside lawyers was the son of a New York State senator has no relevance to any of the issues in
this case. In fact, as Mr. Remillard testified—and as the Government likely knew when it
elicited this testimony—the attorney was introduced to CPV through someone other than Mr.
Kelly. (Tr. 1853:25–1854:4). Indeed, we understand that CPV retained this attorney before Mr.
Kelly joined CPV in 2008.

       The Government’s only apparent purpose in eliciting this testimony was to invite the jury
to speculate that there is some connection between CPV’s hiring of this attorney (the son of a
New York State official) and Mr. Kelly’s hiring, many years later, of Lisa Percoco. The
testimony is clearly irrelevant since it has no bearing on the issue in this case—whether Mr.
Kelly hired Lisa Percoco in 2012 to bribe Joseph Percoco. Fed. R. Evid. 401. Neither Mr. Kelly


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        The defense introduced the exhibit to show that Mr. Remillard and others at CPV knew
that Potomac Strategies and Whiteman Osterman & Hanna had been retained to work as a
lobbyists for the Valley project.
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nor Todd Howe had any involvement in CPV retaining this attorney, which occurred before Mr.
Kelly joined CPV or met Mr. Howe.

        The unfair prejudice is equally obvious. Fed. R. Evid. 403. The Government plainly
intended to suggest that Mr. Kelly engages in a pattern of hiring the relatives of New York State
officials for corrupt purposes and that the hiring of Lisa Percoco was part of that pattern. Even if
there were an evidentiary basis for such a suggestion—and, clearly, there is none, giving the
testimony no probative value—that is the type of prior bad act evidence for which notice is
required under Rule 404(b). The Government provided no such notice.

        We respectfully request that this testimony be stricken, in its entirety, from the record and
that the Government be precluded from raising this issue through any other witness. In addition,
we may ask the Court to give a brief limiting instruction on Monday.



                                                      Respectfully submitted,


                                                LANKLER SIFFERT & WOHL LLP

                                                By:       /s/ Daniel M. Gitner

                                                Daniel M. Gitner
                                                Jun Xiang

CC: All Counsel (Via ECF)
